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                     EXHIBIT A
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE



     In re:                                                         Chapter 11

     Legacy IMBDS, Inc., et al.,                                    Case No. 23-10852 (KBO)

                               Debtors. 1                           (Jointly Administered)

                                                                                    609
                                                                    Re: Docket No. ____



 ORDER APPROVING APPLICATION OF DIRECTV, LLC FOR ALLOWANCE AND
  PAYMENT OF ADMINISTRATIVE CLAIMS AND RESERVATION OF RIGHTS

         Upon the Application of DIRECTV, LLC for Allowance and Payment of Administrative

Claims and Reservation of Rights (the “Application”) filed by DIRECTV, LLC (“DIRECTV”)

seeking allowance and payment of administrative claims pursuant to sections 503 and 507 of title

11 of the United States Code (the “Bankruptcy Code”), in the aggregate amount of $1,185,180.53

(the “DIRECTV Administrative Claim”); and upon consideration of the Application and the

relief requested therein being core proceedings pursuant to 28 U.S.C. § 157(b); and venue being

proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and sufficient notice of

the Application having been given under the circumstances; and the Court having determined that

the legal and factual basis set forth in the Application establish good cause for the relief granted

herein, it is




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive, Inc.
(8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc. (2155);
JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951); FL
Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The Debtors’
service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.



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         ORDERED, ADJUDGED AND DECREED THAT:

         1.        The Application is GRANTED as set forth herein.

         2.        The DIRECTV Administrative Claim shall be allowed as an administrative expense

claim in the amount of $1,185,180.53 pursuant to section 503(b)(1) of the Bankruptcy Code, with

such claim having the priority afforded to administrative expenses under section 507(a)(2) of the

Bankruptcy Code.

         3.        The Debtors are authorized and directed to pay to DIRECTV the DIRECTV

Administrative Claim in the amount of $1,185,180.53 within 7 calendar days of the entry of this

Order.

         4.        The Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation of this Order.




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